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     Attorneys for Defendant Watch Tower Bible and Tract Society of
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

 TRACY CAEKAERT and CAMILLIA                           Case No. CV-20-00052-SPW-
 MAPLEY,                                                          TJC

                               Plaintiffs,
                                                     DEFENDANT WATCH
       -vs-                                        TOWER BIBLE AND TRACT
                                                         SOCIETY OF
 WATCHTOWER BIBLE AND TRACT                        PENNSYLVANIA’S ANSWER
 SOCIETY OF NEW YORK, INC.,                           TO FIRST AMENDED
 WATCH TOWER BIBLE AND TRACT                             COMPLAINT,
 SOCIETY OF PENNSYLVANIA, and                         CROSSCLAIM, AND
 BRUCE MAPLEY SR.,                                 DEMAND FOR JURY TRIAL

                      Defendants.
 WATCHTOWER BIBLE AND TRACT
 SOCIETY OF NEW YORK, INC., and
 WATCH TOWER BIBLE AND TRACT
 SOCIETY OF PENNSYLVANIA,

                               MOULTON BELLINGHAM PC
                                   Attorneys at Law
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                               Cross-Claimants,

           -vs-

 BRUCE MAPLEY SR.,

                               Cross-Defendant.

      COMES NOW Defendant Watch Tower Bible and Tract Society of

Pennsylvania (“WTPA”), by and through its attorneys, and answers Plaintiffs’ First

Amended Complaint and Jury Demand as follows:

                       I.     PARTIES, JURISDICTION & VENUE

      1.          WTPA lacks knowledge or information sufficient to form a belief about

the truth of the allegations of paragraph 1 and, therefore, the same are denied.

      2.          WTPA lacks knowledge or information sufficient to form a belief about

the truth of the allegations of paragraph 2 and, therefore, the same are denied.

      3.          The allegations of paragraph 3 do not appear to be directed to this

answering Defendant. In the event paragraph 3 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      4.          WTPA admits that it is a Pennsylvania corporation and that it has its

principal place of business in New York. WTPA denies the remaining allegations

of paragraph 4.




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      5.     The allegations of paragraph 5 do not appear to be directed to this

answering Defendant. In the event paragraph 5 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      6.     WTPA lacks knowledge or information sufficient to form a belief about

the truth of the allegations of paragraph 6 and, therefore, the same are denied.

      7.     The allegations contained in paragraph 7 are conclusions of law, which

do not require an affirmative response. To the extent that any response is required,

WTPA denies the same.

      8.     The allegations contained in paragraph 8 are conclusions of law, which

do not require an affirmative response. To the extent that any response is required,

WTPA denies the same.

      9.     The allegations of paragraph 9 do not appear to be directed to this

answering Defendant. In the event paragraph 9 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      10.    The allegations contained in paragraph 10 are conclusions of law,

which do not require an affirmative response. To the extent that any response is

required, WTPA denies the same.

                   II.    FACTS COMMON TO ALL CLAIMS

      11.    The allegations of paragraph 11 do not appear to be directed to this

answering Defendant. In the event paragraph 11 is deemed to include allegations

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against WTPA to which a response is required, the same are denied. WTPA

affirmatively asserts that it has no understanding of the term “Jehovah’s Witness

Church”.

      12.    The allegations of paragraph 12 do not appear to be directed to this

answering Defendant. In the event paragraph 12 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      13.    The allegations of paragraph 13 do not appear to be directed to this

answering Defendant. In the event paragraph 13 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      14.    The allegations of paragraph 14 do not appear to be directed to this

answering Defendant. In the event paragraph 14 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      15.    The allegations of paragraph 15 do not appear to be directed to this

answering Defendant. In the event paragraph 15 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      16.    WTPA denies the allegations of paragraph 16.

      17.    WTPA denies the allegations of paragraph 17, as it simply holds

copyright to various publications of the religion known as Jehovah’s Witnesses.

WTPA affirmatively asserts that it neither authors the substantive content nor prints

hard copies of its copyrighted publications.

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      18.   WTPA denies the allegations of paragraph 18.

      19.   WTPA denies the allegations of paragraph 19.

      20.   WTPA denies the allegations of paragraph 20.

      21.   WTPA denies the allegations of paragraph 21 and affirmatively asserts

it has no understanding of the term “Watchtower Protocols”.

      22.   The allegations of paragraph 22 do not appear to be directed to this

answering Defendant. In the event paragraph 22 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      23.   The allegations of paragraph 23 do not appear to be directed to this

answering Defendant. In the event paragraph 23 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      24.   The allegations of paragraph 24 do not appear to be directed to this

answering Defendant. In the event paragraph 24 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      25.   The allegations of paragraph 25 do not appear to be directed to this

answering Defendant. In the event paragraph 25 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      26.   The allegations of paragraph 26 do not appear to be directed to this

answering Defendant. In the event paragraph 26 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

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      27.   WTPA denies the allegations of paragraph 27 and affirmatively asserts

it has no understanding of the term “Watchtower Protocols”.

      28.   WTPA denies the allegations of paragraph 28 and affirmatively asserts

it has no understanding of the term “Watchtower Protocols”.

      29.   The allegations of paragraph 29 do not appear to be directed to this

answering Defendant. In the event paragraph 29 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      30.   The allegations of paragraph 30 do not appear to be directed to this

answering Defendant. In the event paragraph 30 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      31.   The allegations of paragraph 31 do not appear to be directed to this

answering Defendant. In the event paragraph 31 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      32.   WTPA denies the allegations of paragraph 32.

      33.   The allegations of paragraph 33 do not appear to be directed to this

answering Defendant. In the event paragraph 33 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      34.   The allegations of paragraph 34 do not appear to be directed to this

answering Defendant. In the event paragraph 34 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

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      35.   The allegations of paragraph 35 do not appear to be directed to this

answering Defendant. In the event paragraph 35 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      36.   The allegations of paragraph 36 do not appear to be directed to this

answering Defendant. In the event paragraph 36 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      37.   The allegations of paragraph 37 do not appear to be directed to this

answering Defendant. In the event paragraph 37 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      38.   The allegations of paragraph 38 do not appear to be directed to this

answering Defendant. In the event paragraph 38 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      39.   The allegations of paragraph 39 do not appear to be directed to this

answering Defendant. In the event paragraph 39 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      40.   The allegations of paragraph 40 do not appear to be directed to this

answering Defendant. In the event paragraph 40 is deemed to include allegations

against WTPA to which a response is required, the same are denied.




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      41.   The allegations of paragraph 41 do not appear to be directed to this

answering Defendant. In the event paragraph 41 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      42.   The allegations of paragraph 42 do not appear to be directed to this

answering Defendant. In the event paragraph 42 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      43.   The allegations of paragraph 43 do not appear to be directed to this

answering Defendant. In the event paragraph 43 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      44.   WTPA denies the allegations of paragraph 44.

      45.   The allegations of paragraph 45 do not appear to be directed to this

answering Defendant. In the event paragraph 45 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      46.   WTPA denies the allegations of paragraph 46 as calling for legal

conclusions and affirmatively asserts it has no understanding of the term

“Watchtower Protocols”.

      47.   The allegations of paragraph 47 do not appear to be directed to this

answering Defendant. In the event paragraph 47 is deemed to include allegations

against WTPA to which a response is required, the same are denied.



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      48.   The allegations of paragraph 48 do not appear to be directed to this

answering Defendant. In the event paragraph 48 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      49.   WTPA denies the allegations of paragraph 49.

      50.   WTPA denies the allegations of paragraph 50.

      51.   The allegations of paragraph 51 do not appear to be directed to this

answering Defendant. In the event paragraph 51 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      52.   The allegations of paragraph 52 do not appear to be directed to this

answering Defendant. In the event paragraph 52 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      53.   To the extent the allegations of paragraph 53 are directed against

WTPA, WTPA denies the same.

      54.   The allegations of paragraph 54 do not appear to be directed to this

answering Defendant. In the event paragraph 54 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      55.   WTPA denies the allegations of paragraph 55.

      56.   To the extent the allegations of paragraph 56 are directed against

WTPA, WTPA denies the same.



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      57.   The allegations of paragraph 57 do not appear to be directed to this

answering Defendant. In the event paragraph 57 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      58.   The allegations of paragraph 58 do not appear to be directed to this

answering Defendant. In the event paragraph 58 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      59.   To the extent the allegations of paragraph 59 are directed against

WTPA, WTPA denies the same.

      60.   The allegations of paragraph 60 do not appear to be directed to this

answering Defendant. In the event paragraph 60 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

                                   III.     CLAIMS

                            First Claim: Negligence
                                (All Defendants)
      61.   WTPA incorporates its previous responses herein.

      62.   The allegations contained in paragraph 62 are conclusions of law,

which do not require an affirmative response. To the extent that any response is

required, WTPA denies the same.

      63.   The allegations contained in paragraph 63 are conclusions of law,

which do not require an affirmative response. To the extent that any response is

required, WTPA denies the same.
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      64.   The allegations of paragraph 64 do not appear to be directed to this

answering Defendant. In the event paragraph 64 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      65.   The allegations contained in paragraph 65 are conclusions of law,

which do not require an affirmative response. To the extent that any response is

required, WTPA denies the same.

                       Second Claim: Negligence Per Se
                               (All Defendants)

      66.   WTPA incorporates its previous responses herein.

      67.   The allegations contained in paragraph 67 are conclusions of law,

which do not require an affirmative response. To the extent that any response is

required, WTPA denies the same.

      68.   The allegations contained in paragraph 68 are conclusions of law,

which do not require an affirmative response. To the extent that any response is

required, WTPA denies the same.

      69.   The allegations contained in paragraph 69 are conclusions of law,

which do not require an affirmative response. To the extent that any response is

required, WTPA denies the same.

      70.   The allegations contained in paragraph 70 are conclusions of law,

which do not require an affirmative response. To the extent that any response is

required, WTPA denies the same.
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      71.   The allegations contained in paragraph 71 are conclusions of law,

which do not require an affirmative response. To the extent that any response is

required, WTPA denies the same.

      72.   The allegations contained in paragraph 72 are conclusions of law,

which do not require an affirmative response. To the extent that any response is

required, WTPA denies the same.

                             Third Claim: Battery
                                 (Mapley Sr.)

      73.   WTPA incorporates its previous responses herein.

      74.   The allegations of paragraph 74 do not appear to be directed to this

answering Defendant. In the event paragraph 74 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      75.   The allegations of paragraph 75 do not appear to be directed to this

answering Defendant. In the event paragraph 75 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

      76.   The allegations of paragraph 76 do not appear to be directed to this

answering Defendant. In the event paragraph 76 is deemed to include allegations

against WTPA to which a response is required, the same are denied.

                               Punitive Damages
                                (All Defendants)

      77.   WTPA incorporates its previous responses herein.

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      78.    The allegations contained in paragraph 78 are conclusions of law,

which do not require an affirmative response. To the extent that any response is

required, WTPA denies the same.

      79.    The allegations contained in paragraph 79 are conclusions of law,

which do not require an affirmative response. To the extent that any response is

required, WTPA denies the same.

                          AFFIRMATIVE DEFENSES

      1.     WTPA denies each and every allegation in Plaintiffs’ First Amended

Complaint not specifically admitted herein, including any allegations in Plaintiffs’

Prayer for Relief.

      2.     Plaintiffs’ First Amended Complaint fails to state a claim against

WTPA upon which relief can be granted.

      3.     Plaintiffs’ First Amended Complaint, and each cause of action therein,

is barred by the First Amendment to the U.S. Constitution and/or Article II, Sections

4-5 of The Constitution of the State of Montana.

      4.     Plaintiffs’ First Amended Complaint, and each cause of action thereof,

characterizes church hierarchy, doctrine, policy, and practices to establish a

foundational basis for liability in violation of federal and state constitutional

proscriptions.



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      5.     Plaintiffs’ First Amended Complaint, and each cause of action thereof,

improperly blurs the existence of distinct legal entities to conflate their existence

into a single religious entity in violation of the First and Fourteenth Amendments to

the United States Constitution.

      6.     The claim for punitive damages violates WTPA’s right to due process

and equal protection as guaranteed by the Fourteenth Amendment to the United

States Constitution and/or Article II, Sections 4 (equal protection) and 17 (due

process) of The Constitution of the State of Montana.

      7.     The imposition of punitive damages in this case would violate the

Commerce Clause of the United States Constitution.

      8.     The imposition of punitive damages in this case would violate the First,

Fifth, Sixth, Eighth and/or Fourteenth Amendments to the United States

Constitution.

      9.     With respect to the claim for punitive damages, WTPA specifically

incorporates by reference all standards of limitations regarding the determination

and enforceability of punitive damages awards which arose in the decisions of BMW

of North America v. Gore, 517 U.S. 559 (1996); Cooper Industries, Inc. v.

Leatherman Tool Group, Inc., 532 U.S. 424 (2001); State Farm Mut. Auto Ins. Co.

v. Campbell, 538 U.S. 408 (2003); Williams v. Phillip Morris, 549 U.S. 336 (2007);



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and Exxon Shipping Co. v. Baker, 554 U.S. 471 (2008), as well as the limits imposed

by Mont. Code Ann. § 27-1-220 et seq.

      10.    Plaintiffs have not pleaded and proved sufficient facts to support an

award of punitive damages against WTPA under applicable law including, but not

limited to, the failure to plead and prove conduct by an officer, director or managing

agent of WTPA that would entitle them to recover punitive damages and failure to

plead facts sufficient to meet the requisites of Mont. Code Ann. § 27-1-220 et seq.

      11.    If and only if Plaintiffs’ allegations are accurate, then WTPA asserts its

entitlement to an apportionment of fault by the trier of fact between any person (legal

or natural) to whom apportionment of fault may be made under Mont. Code Ann. §

27-1-703 and other statutory and common law principles.

      12.    Plaintiffs’ claims are precluded by the applicable statutes of limitations,

including but not limited to Mont. Code Ann. § 27-2-216.

      13.    Plaintiffs’ claims are barred, in whole or in part, by reason of laches,

estoppel, waiver, res judicata, and/or other equitable defenses.

      14.    WTPA had no duty to and/or breached no duty to Plaintiffs.

      15.    Assuming Plaintiffs’ allegations are accurate, WTPA did not have an

obligation to report the allegations, pursuant to Mont. Code Ann. § 41-3-201(6).

      16.    Plaintiffs’ claims are barred by the doctrine of Charitable Immunity.



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      17.      The acts or omissions of third parties, individuals, or entities for which

WTPA has no responsibility, either directly or indirectly, whether or not presently

named parties to this action, were the sole, intervening, or contributing cause of

Plaintiffs’ claimed damages, if any.              Such acts or omissions bar and/or

proportionately reduce recovery, if any, by Plaintiffs against WTPA.

      18.      Plaintiffs have failed to join all necessary and indispensable persons for

a full and just adjudication of the purported causes of action asserted in the First

Amended Complaint.

      19.      To the extent Plaintiffs have failed to mitigate, minimize, or avoid any

of their claimed damages, any recovery against WTPA is void or must be reduced

accordingly.

      20.      Pursuant to Mont. Code Ann. § 27-1-308, any recovery against WTPA

must be reduced by the amount of any payments received by Plaintiffs from

collateral sources.

      21.      Plaintiffs’ alleged injuries, harm, losses, and/or damages, if any, are a

result of pre-existing and/or unrelated medical, psychological, and/or emotional

conditions for which WTPA is not responsible.

      22.      Plaintiffs’ alleged injuries, harm, losses, and/or damages, if any, are a

result of post-event and/or unrelated medical, psychological, and/or emotional

conditions for which WTPA is not responsible.

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       23.   To the extent Plaintiffs are asserting claims for damages which have

not yet occurred, are not reasonably certain, and/or are speculative or conjectural in

nature, the claims are premature.

       24.   Plaintiffs are not entitled to the recovery of attorney fees.

       25.   Plaintiffs are not entitled to an award of prejudgment interest.

       26.   WTPA expressly reserves the right to pursue claims of contribution

and/or indemnity against all parties and non-parties to the fullest extent allowed by

law.

       27.   WTPA hereby gives notice of an intent to rely upon such other

affirmative defenses as may become available or apparent during the course of

discovery or other proceedings and thus reserves the right to amend this list or assert

such other defenses to which WTPA is entitled. WTPA also reserves the right to

withdraw any affirmative defenses upon discovery of factors or evidence rendering

such action appropriate.

       WHEREFORE, WTPA requests that this Court:

       1.    Deny and dismiss Plaintiffs’ First Amended Complaint with prejudice,

and order that Plaintiffs’ take nothing thereunder;

       2.    Enter judgment in favor of WTPA;

       3.    Award WTPA its costs of suit; and

       4.    Grant such further relief as the Court deems just and proper.

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                   CROSSCLAIM FOR CONTRIBUTION

      Although WTPA denies any liability whatsoever on its part, it nonetheless

asserts that any and all injuries and/or damages sustained by Plaintiffs were the

proximate result of the negligence and wrongdoing of Defendant Bruce Mapley, Sr.

and demand the relief and benefit of application of Mont. Code Ann. § 27-1-703.

      WHEREFORE, having set forth its Crossclaim, WTPA prays that the jury

be allowed to consider and determine the liability in this matter of Defendant Bruce

Mapley, Sr.; that this Court be permitted to enter judgment, if so determined, against

Defendant Bruce Mapley, Sr. for his actions which caused or contributed to the

damages claimed by Plaintiffs; and that WTPA be awarded contribution from

Defendant Bruce Mapley, Sr., together with interest, legal fees, costs of suit, and

such other relief that the Court deems appropriate under the circumstances.

                          DEMAND FOR JURY TRIAL

      WTPA hereby demands a trial by jury.




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DATED this 19th day of November, 2021.


                              MOULTON BELLINGHAM PC

                              By        /s/    Christopher T. Sweeney
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                                        CHRISTOPHER T. SWEENEY
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                                        Tract Society of Pennsylvania




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                          CERTIFICATE OF SERVICE

      I hereby certify that on 19th day of November, 2021, a copy of the foregoing
was served on the following persons:

1.    U.S. District Court, Billings Division

2.    Robert L. Stepans
      Ryan R. Shaffer
      James C. Murnion
      MEYER, SHAFFER & STEPANS, PLLP
      430 Ryman Street
      Missoula, MT 59802
      Attorneys for Plaintiffs

3.    Guy W. Rogers                Joel M. Taylor, Esq. (pro hac vice)
      Jon A. Wilson                MILLER MCNAMARA & TAYLOR LLP
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      BROWN LAW FIRM, P.C.         Mount Kisco, NY 10549
                   th
      315 North 24 Street
      P.O. Drawer 849
      Billings, MT 59103-0849
      Attorneys for Defendant Watchtower Bible and Tract Society of New York,
      Inc.

4.    Bruce G. Mapley, Sr.
      3905 Caylan Cove
      Birmingham, AL 35215

By the following means:

        1, 2, 3   CM/ECF                                  Fax
                  Hand Delivery                           E-Mail
          4       U.S. Mail                               Overnight Delivery Services


                                       By        /s/ Christopher T. Sweeney
                                                 Christopher T. Sweeney


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                                  MOULTON BELLINGHAM PC
                                    ATTORNEYS AT LAW
